Case 3:25-cv-00113-SLH   Document 57-11   Filed 04/29/25   Page 1 of 5




  Exhibit J
     Case 3:25-cv-00113-SLH           Document 57-11         Filed 04/29/25       Page 2 of 5




                          DECLARATION OF SOM-MAI NGUYEN

I, Som-Mai Nguyen, declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the
following is true and correct to the best of my knowledge and belief:

   1. I am a staff attorney with the Pennsylvania Immigrant Family Unity Project (“PAIFUP”)
      team at the Nationalities Service Center (“NSC”). NSC is a nonprofit refugee resettlement
      agency and legal services provider in Philadelphia, Pennsylvania. As a collaborative of
      nonprofit legal service providers from across the state, PAIFUP (which includes NSC,
      PIRC, and HIAS Pennsylvania) is the primary—near sole—source of free legal services
      for noncitizens detained by Immigrations and Customs Enforcement (“ICE”) at the
      Moshannon Valley Processing Center (“Moshannon”).

   2. Moshannon has the capacity to detain 1,878 people. As of February 11, 2025, the facility
      held 1,447 individuals.

   3. There is no physical court location that handles detained cases from Moshannon in
      Pennsylvania following the contract termination with the York County Prison and the
      closure of the York Immigration Court in August 2021. As a result, all Moshannon cases
      are heard via video teleconference (VTC) by the Elizabeth Immigration Court in Elizabeth,
      New Jersey. As of March 2025, 381 of 515 (74%) detained cases docketed at Elizabeth
      were for unrepresented (pro se) individuals who do not have an attorney to help them draft
      a habeas petition. For these individuals in particular, possessing information about where
      and how to file a habeas petition is essential to their ability to advocate for themselves.

   4. Because all Moshannon cases are heard via video by the Elizabeth Immigration Court, pro
      se litigants must submit all court filings via regular mail; submission in person or via the
      internet is not permitted. Electronic scans and faxes are not feasible alternatives to using
      regular mail for legal filings, or even for sending drafts to a family member to file
      electronically, as case managers can grant or deny such requests at their discretion. Mail
      processing out of Moshannon is slow, and shipments regularly take days, or even more
      than a week, to arrive at their destination.

   5. To prepare a habeas petition pro se while detained at Moshannon, the unrepresented litigant
      would begin by visiting the law library, using the computers to write a draft, and then asking
      a case manager to help print any relevant documents. However, the law library is available
      to each housing block only one day a week, on a rotating schedule. For instance, a given
      detainee may only be able to visit the law library for five hours each Friday to work on his
      or her habeas petition, while access to the library at other times for that individual would
      be prohibited. Once a petition is printed, the individual would then need to give it to facility
      staff to mail. The length of time it takes for outgoing packages to be mailed, however, is
      highly variable and subject to staff discretion.
      Case 3:25-cv-00113-SLH           Document 57-11         Filed 04/29/25       Page 3 of 5




    6. The experiences of NSC’s clients highlight the limitations detainees face in effectively
       utilizing the law library. One former client of NSC, for example, worked in the law library
       at Moshannon for several months in 2023. He reported that there were about seven
       computers with access to LexisNexis, a legal search engine, but no other websites. There
       was one law librarian, who spoke only English.

    7. Considering these limitations on access to the law library, being permitted 24 hours to
       complete a habeas petition would not translate, in practice, to actually having 24 hours to
       do so; instead, a Moshannon detainee would have only five hours to complete their filing
       before being barred from the library for the week. If the 24-hour period fell during a time
       when the detainee’s housing block was not slated to visit the library, it could mean no time
       at all to finish (or even begin) a legal filing. This reality is so despite the Performance-
       Based National Detention Standards’ requirement that detained individuals be permitted to
       access the law library for no fewer than 15 hours per week.

    8. Language access is also a severe and ongoing problem at Moshannon. This creates
       additional obstacles to the effective filing of a habeas petition, as detained noncitizens with
       limited English proficiency are often unable to access the legal resources that would enable
       them to do so, especially in an expedited timeframe. As documented through complaints to
       DHS’s former Office for Civil Rights and Civil Liberties, it is common for noncitizens who
       do not speak English, or who are illiterate, to receive documents in English from ICE
       without any translated versions accompanying them. In fact, a 2024 survey of detained
       noncitizens found that only 19% reported that their law library provided translated
       materials in their primary language. 1 Moshannon is no different.

    9. In the event that a pro se detainee has questions about how to draft a habeas petition or
       wishes to confirm the filing rules for a particular jurisdiction, their only recourse is to call
       the Johnstown courthouse in the Western District of Pennsylvania. If the individual who
       answers the phone does not speak English, the detainee may call the court back with
       someone who can interpret for them. If they could not find anyone, they would simply not
       receive the information.

    10. The Nationalities Service Center has represented numerous individuals who are illiterate
        in their native language. Many of these clients have expressed to our attorneys that they do
        not understand the process of requesting a visit to the law library and are unable to use the
        legal materials available in the law library due to their lack of literacy.

    11. Finally, it is extremely difficult for pro se individuals detained at Moshannon to consult
        with an attorney at all, let alone within 12 hours of receiving notice that they must do so.

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 BENJAMIN N. CARDOZO SCHOOL OF LAW, HELD INCOMMUNICADO: THE FAILED PROMISE OF LANGUAGE ACCESS IN
IMMIGRATION DETENTION 9 (2024).
  Case 3:25-cv-00113-SLH            Document 57-11         Filed 04/29/25       Page 4 of 5




   One reason for this is simply Moshannon’s geographic location: the facility is situated in a
   remote area of Pennsylvania and has only two attorney visitation rooms that serve the entire
   facility. Many attorneys, including the staff at NSC, primarily conduct legal meetings via
   phone and video.

12. To speak to a client via a confidential video call, attorneys are generally only able to arrange
    a call 2–10 days after the date of the request. In addition, legal calls can only be scheduled
    before afternoon count, which is at approximately 3:30 PM.

13. When detainees are transferred away from Moshannon, which often happens suddenly and
    without the knowledge of the noncitizen’s attorney, reaching counsel is even more difficult.
    Because case managers are often slower to respond to attorneys seeking calls after a
    transfer has occurred, days can elapse before attorneys are aware of an individual’s
    location. And because a detainee’s Global Tel*Link (GTL) account, which provides a non-
    confidential way of messaging an attorney or family member, is typically turned off the
    night before the person is set to be moved, detainees often have no means by which to
    notify anyone of their impending transfer.

14. The second, and more important, limitation on attorney access stems from the incredibly
    small number of pro bono legal service providers that serve those detained at Moshannon.
    PAIFUP, for instance, is staffed by just 15 attorneys and law clerks from three legal service
    providers: NSC, HIAS Pennsylvania, and PIRC. Currently, PAIFUP can only represent
    individuals with ties to Philadelphia, Allegheny, Montgomery, and Delaware Counties.
    Some staff members are only partially funded to do PAIFUP work, which further limits
    capacity. At NSC, only two of seven PAIFUP attorneys have an active federal court
    practice. This means that NSC can take only a small fraction of the hundreds of pro se
    litigants who request our office’s legal assistance each year.

15. Even when PAIFUP can represent a detained non-citizen at Moshannon, the process takes
    time to complete. Typically, after a detainee calls PAIFUP’s intake line, a coordinating staff
    member arranges a legal screening call with that person within 2–10 days. Following that
    initial screening, the noncitizen’s information is shared with our legal staff to assess
    whether an attorney can accept the case for representation. This entire process, from initial
    outreach to determining if an individual is going to be represented by PAIFUP pro bono,
    takes approximately three weeks. As such, and given PAIFUP’s tremendous resource
    constraints, it would be logistically impossible for a pro se litigant seeking immediate (or
    same-day) assistance with a habeas petition to obtain it from a PAIFUP staff member.

16. In sum, it is nearly impossible for pro se individuals detained at Moshannon to file a habeas
    petition within 14 days, and outright impossible in under 36 hours. Even obtaining a full
    consultation with an attorney within two weeks, let alone 12 hours, would be exceedingly
    difficult in light of the facility’s longstanding issues with detainee access to legal
    information, language services, and affordable legal representation, as outlined above.
     Case 3:25-cv-00113-SLH          Document 57-11          Filed 04/29/25   Page 5 of 5




Executed this 29th day of April 2025 in Philadelphia, PA.


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